Bertha Malone, a bawdy-house keeper, was tried by a jury, together with other defendants, and convicted on the charge of conspiring to obstruct justice.
She is before the court on the same record as the other defendants and she joins in the brief of defendants Wilcox, Elliott, Lansberg and others. As she does not raise any questions not considered in the opinions rendered herewith in the cases of Wilcox, *Page 298 
Elliott and Lansberg,* those decisions control our determination in the instant case.
Conviction and judgment affirmed.
CHANDLER, C.J., and NORTH, STARR, BUTZEL, and SHARPE, JJ., concurred. BOYLES and WIEST, JJ., did not sit.
* See People v. Wilcox, ante, 287; People v.Stambaugh, post, 300. — REPORTER.